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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DYLAN BRANDT, et al.,
                                                                                      PLAINTIFFS,

v.                                   No. 4:21-CV-00450-JM

LESLIE RUTLEDGE, et al.,                                                             DEFENDANTS.


           REPLY IN SUPPORT OF MOTION FOR PROTECTIVE ORDER AND TO QUASH
          NOTICE OF DEPOSITION OF SEPARATE DEFENDANT DR. RHYS L. BRANMAN

        Plaintiffs mischaracterize and conflate the nature of discovery discussions that have

transpired between the parties. Plaintiffs go so far as to assert that Defendants have made

“baseless” arguments, have engaged in “obstruction,” and are engaged in “delay tactics.” (Doc.

135, pp. 2, 6, 9). These insinuations are false.

       Discovery has closed. Pursuant to this Court’s Amended Final Scheduling Order, motions

are due in 16 days. (Doc. 99). This dispute arose when Plaintiffs issued an eleventh-hour Notice

of Deposition to Dr. Branman in the closing days of the discovery period. At that point, the parties

were preparing to take five other depositions (four of which were expert witnesses) prior to the

close of discovery. In language that was originally proposed by Plaintiffs themselves, the Court’s

Order advised that the Court would not move the discovery deadline simply because a party did

not have time to depose a witness. Therefore, when Plaintiffs realized that they had waited so long

that they did not have time to depose Dr. Branman, they tried to strong-arm Defendants into

complying with their eleventh-hour discovery attempt. This Court should issue an Order quashing

the Notice of Deposition of Dr. Branman, which is nothing more than an end-run around this

Court’s scheduling order.
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         First and foremost, Plaintiffs incorrectly characterize Defendants as having “refused” to

engage in discussions about Dr. Branman’s availability, or that Defendants otherwise failed to

meet and confer. These characterizations are demonstrably false. (Doc. 135-2). Plaintiffs inquired

with Defendants 13 days before the close of discovery as to whether Dr. Branman would be

available for a deposition on Monday, May 23 or Tuesday, May 24. (Doc. 135-2, p. 3). 1 Instead

of giving Defendants adequate time to communicate with Dr. Branman—and without so much as

picking up the phone to discuss the matter with Defendants—Plaintiffs then issued a Notice of

Deposition. (Doc. 135-2, p. 3).       Defendants responded to Plaintiffs that Dr. Branman was

unavailable the week of May 23. Defendants accordingly requested that Plaintiffs withdraw their

Notice. Plaintiffs refused, leaving Defendants no other choice but to file their Motion to Quash

and for a Protective Order. (Doc. 135-2, p. 2). Plaintiffs claim that Defendants did not provide the

reasons for Dr. Branman’s unavailability prior to filing this Motion, yet that is precisely because

Plaintiffs went ahead and issued the Notice without conferring in good faith and then refused to

withdraw it. Plaintiffs’ claim that Defendants are engaged in obstructing discovery or delay tactics

falsely suggests that Defendants have simply made up Dr. Branman’s unavailability or were

otherwise untruthful concerning the fact that his schedule is routinely booked months in advance.

         Plaintiffs also mischaracterize Medical Board Director Amy Embry’s deposition,

suggesting that Ms. Embry refused to answer questions during her deposition. This

characterization suggests that Defendants have refused to comply with discovery as it relates to



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    It should be noted that the 13-day inquiry, and the Notice of Deposition issued just days before

the close of discovery, do not provide the parties ample time to resolve discovery disputes, which

is another requirement of this Court’s Final Scheduling Order. (Doc. 99, ¶ 3).

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their 30(b)(6) witness, an issue Defendants were made aware of for the first time in Plaintiffs’

Response to the Motion for Protective Order. To the extent Plaintiffs took issue with this

testimony, or with whether it complied with the 30(b)(6) Notice, they were required to confer with

Defendants in good faith about the testimony they felt did not comply. They failed to do so. See

Fed. R. Civ. P. 26(c)(1). As a result, if Plaintiffs argue that the Notice of Deposition to Dr.

Branman is necessary, that request should be categorically denied on that basis alone due to

Plaintiffs’ failure to meet and confer on this issue.

       Further, at no point did Ms. Embry refuse to answer questions. The one example Plaintiffs

present is that Ms. Embry answered, “Not to my knowledge” when asked if the Board recognized

that gender-affirming hormones could be a help to some adolescents. (Doc. 135, p. 3). This can

hardly be labeled as a refusal or inability to answer questions. Rather, Plaintiffs’ issue with the

testimony is that Ms. Embry did not testify with the answers that Plaintiffs wanted to hear. What

Ms. Embry’s deposition does reveal is that neither Dr. Branman in his capacity as a Board member,

nor any Board member, have taken any position on the SAFE Act, nor has the Board received any

complaint regarding the Act. (Doc. 135-1, pp. 227-29).

       It is unclear why Plaintiffs feel it is now necessary to depose Dr. Branman concerning his

“views and actions,” when Ms. Embry concisely answered that the Board has not taken up any

issue regarding the SAFE Act, nor has the Board taken any official position on the Act. Plaintiffs

have their answers as to the Board’s views and actions regarding the SAFE Act; they simply do

not like the answers. Therefore, Plaintiffs’ desire to depose Dr. Branman as to the views or actions

of each Board member is nonsensical, repetitive, and an attempt to annoy and harass. Again,

Plaintiff should have known from the outset of this case whether any inquiry into the “views and

actions” of the Board members would be necessary. The argument that Plaintiffs did not know

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they needed to inquire into this until Ms. Embry’s deposition is questionable at best – particularly

in light of the fact that Plaintiffs named Dr. Branman as a Defendant when they filed their

complaint.

        Plaintiffs acknowledge that this Court’s inquiry into the reasonableness of the Notice of

Deposition is fact-specific. (Doc. 135, p. 5). However, Plaintiffs gloss over very important facts

that must be addressed by this Court in resolving this dispute. The other physicians in this case

who have been deposed had over a month of notice prior to their depositions. Like them, Dr.

Branman needs more than just a few days’ notice before being deposed. But with the close of

discovery, and with dispositive motions due in 16 days, conducting his deposition is neither

feasible nor just.

        Dr. Branman’s Declaration reveals that he maintains a private medical practice in addition

to his duties as a member of the Arkansas Medical Board. (Doc. 135-1, ¶ 2). Dr. Branman attests

that he schedules surgeries for his patients months in advance. (Doc. 135-1, ¶ 2). If Plaintiffs had

done their due diligence and inquired sooner, they would have been aware of these scheduling

issues. Plaintiffs’ Notice of Deposition was unreasonable given the facts and circumstances

surrounding this witness. Further, during the final two weeks of discovery, Defendants were

scrambling to prepare for the depositions of Dr. Janet Cathey on May 16, Dr. Jack Turban on May

19, Dr. Dan Karasic on May 20, Dr. Paul Hruz on May 25, and Dr. Stephen Levine on May 26—

the last day of discovery.

        Plaintiffs’ solution for waiting until the eleventh hour—when Dr. Branman is unavailable

due to scheduled medical procedures of his patients in addition to his own—is to depose Dr.

Branman in the evenings or on weekends. This highlights the unreasonableness of the Notice.

Discovery sought within a reasonable timeframe would not force the parties to schedule it during

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nights and weekends. Plaintiffs claim that they are willing to limit the deposition time to three

hours—an offer which was not made until after Defendant were forced to file this Motion. It is

unclear how a witness so necessary can be deposed in such a short time frame, as virtually every

deponent in this case so far has sat for almost the full seven hours.

       For the reasons set forth in Defendants’ Motion and this Reply, this Court should issue a

protective order denying Plaintiffs’ last-minute attempt to depose Dr. Branman and quash the

Notice of Deposition to Dr. Branman. Forcing Defendants to continue to engage in discovery past

the deadline, mere days before the dispositive motions deadline, hinders their ability to defend

their case. Defendants respectfully request that this Court enter an Order accordingly.

                                              Respectfully Submitted,

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